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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                    Case Number 18-20495
v.                                                           Honorable David M. Lawson

IBRAHEEM IZZY MUSAIBLI,

               Defendant.
                                              /

      ORDER ALLOWING INTERVIEWER TO ENTER DETENTION FACILITY

       This matter is before the Court on a request by the defendant for an order allowing his

attorney’s paralegal, Alexis Ringman, to enter the facility where he is detained, for the purpose of

interviewing the defendant. The Court has reviewed the defendant’s motion and finds that it should

be granted.

       Accordingly, it is ORDERED that the defendant’s request for an order to facilitate entry

by defense counsel’s paralegal is GRANTED.

       It is further ORDERED that Alexis Ringman shall be allowed to enter the Milan Federal

Detention Center, or any other facility where the defendant is detained in the custody of the United

States Marshal, for the purpose of interviewing the defendant.

       It is further ORDERED that Alexis Ringman shall be allowed to meet with the defendant

in a suitable location that will accommodate a private and unobstructed face-to-face meeting with

the defendant, for the time reasonably necessary to complete the interview.

                                                             s/David M. Lawson
                                                             DAVID M. LAWSON
                                                             United States District Judge

Date: April 22, 2019
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                                    PROOF OF SERVICE

                 The undersigned certifies that a copy of the foregoing order was
                 served upon each attorney or party of record herein by
                 electronic means or first class U.S. mail on April 22, 2019.

                                            s/Susan K. Pinkowski
                                            SUSAN K. PINKOWSKI




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